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                                                                                                                      US009 179147B2


  (12) United States Patent                                                                  (10) Patent No.:                               US 9,179,147 B2
         Yang et al.                                                                         (45) Date of Patent:                               Nov. 3, 2015

  (54) SOFT DECISION AND ITERATIVEVIDEO                                               (52) U.S. Cl.
         CODING FOR MPEG AND H.264                                                             CPC ....... H04N 19/00781 (2013.01); H04N 19/103
                                                                                                      (2013.01); H04N 19/147 (2013.01); H04N
  (71) Applicant: RESEARCH IN MOTION LIMITED,                                                                                 19/61 (2013.01)
                  Waterloo, CA (US)                                                   (58) Field of Classification Search
                                                                                               USPC ..................................................... 375/240.03
  (72) Inventors: En-hui Yang, Petersburg, CA (US);                                            See application file for complete search history.
                  Xiang Yu, Kitchener, CA (US)                                        (56)                               References Cited
  (73) Assignee: BlackBerry Limited, Waterloo, Ontario                                                      U.S. PATENT DOCUMENTS
                 (CA)
                                                                                              5,818,877 A                10, 1998 Tsai et al.
  (*) Notice:       Subject to any disclaimer, the term of this                               8,005,140 B2                8/2011 Yang et al.
                    patent is extended or adjusted under 35                            2004/0240591 A1 12/2004 Sexton et al.
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  (21) Appl. No.: 13/776,858                                                           2006, OO13497 A1 1/2006 Yang et al.
                                                                                       2006/0053004 A1* 3/2006 Ceperkovic et al. .......... TO4,221
  (22) Filed:       Feb. 26, 2013                                                      2006/0222078 A1 10, 2006 Raveendran
                                                                                       2006/0233239 A1 * 10, 2006 Sethi et al. ............... 375,240.03
                                                                                       2007/O104272 A1    5, 2007. He et al.
  (65)                Prior Publication Data                                           2009/0304090 A1 12/2009 Cordara et al.
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                                                                                      Richardson, I.E.G. et al. The MPEG-4 and H.264 Standards, Video
              Related U.S. Application Data                                           Coding for Next-generation Multimedia. 2003, John Wiley & Sons,
                                                                                      Ltd. ISBN: 0-470-84.837-5.
  (63) Continuation of application No. 13/244,751, filed on                                                                   (Continued)
         Sep. 26, 2011, now Pat. No. 8,411,742, which is a
         continuation of application No. 12/900,627, filed on                         Primary Examiner — Tanmay Shah
         Oct. 8, 2010, now Pat. No. 8,331,441, which is a                             (74) Attorney, Agent, or Firm — Rowand LLP
         continuation of application No. 1 1/377.583, filed on
         Mar. 17, 2006, now Pat. No. 8,005,140.                                       (57)                                    ABSTRACT
  (51) Int. Cl.                                                                       A method of encoding video data using soft decision quanti
          H04N 7/2               (2006.01)                                            Zation makes use of iterative encoding to provide the ability to
          H04N II/02             (2006.01)                                            optimize encoding across different functional elements in a
          H04N II/04             (2006.01)                                            hybrid video encoder. Iterative encoding is used to allow
          H04N 9/6               (2014.01)
                                                                                      quantization step size, motion prediction and quantization
          H04N 9/47              (2014.01)                                            levels to be optimized despite their interrelated nature.
          H04N 9/03              (2014.01)                                                           19 Claims, 12 Drawing Sheets




                                                                                                                   NU"Quantization output: 14
                                                                                                                          Step size: q
                                                                                                         Entropy
                                                           listic                                        Coding               oce:
                                                      Compensation                                                      Mdio Vector V"

                                                                                                            Ercoeer 0



                             Quantization output. Q                    i.                >      f.
                                  Step stae: q                       { 'oe                    r 410
                                                      Eritrapy
                                       Mode:          Decoding               Motion                                       p
                                   Motion fector: W                       Compensation
                                                                     12
                                                                                              Frame
                                                                                               f
                                                              118                             Buffer
                                                                                         (N7           ecode 18
Case 2:24-cv-00178-JRG-RSP Document 1-4 Filed 03/15/24 Page 2 of 29 PageID #: 39


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                     4         Mapping
                             is function a 0.
                                                  () is encoding0
                                                        Lossess Y(ok))
                     Batz). Mapping i o)                   Lossess        Yotz)
                               function (30.             i decoding YO'
                                            Figure 3




        15O
                             initialize quantization step sizes

          52
                                    Corputed gived


         154                        Cornpute q given U                             NO



         156                is decrease it       elow thesiod?


                                                   Yes
                                                                          Figure 4
                                          Complete
Case 2:24-cv-00178-JRG-RSP Document 1-4 Filed 03/15/24 Page 6 of 29 PageID #: 43


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                                      Mbik      Mk-4-




                                                  i




                                      Figure 5
        18O         For a given residual reconstruction, compute
                              motion prediction (n, V)

        182        Using (m,W) compute new quantization leves
                              (j) and step sizes (q)                    NO


                           is decease in RD Cost below
                                   thresold?


                                                               Figure 6
                                      Complete
Case 2:24-cv-00178-JRG-RSP Document 1-4 Filed 03/15/24 Page 7 of 29 PageID #: 44


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                                                                                is a subset of      WESS;

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                                                                                                     33-12
                                                                                                     Walsa4
                                                                                                  at W24
                                                                                                  a WSsa8
                                                                                                  a W5-48 .




                                                           Figure 8
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  U.S. Patent                                                   Nov. 3, 2015                                                                          Sheet 6 of 12                                                                                                     US 9,179,147 B2




                                                                                                                     Foremar OCF 30Hz
           37         ---, . . . . . . . . . . . . . . . . . . . . . . . . . . . . - - - - - - - - - - - - - - - - - - - - - - - - - - - - ---------------------------------------------------------




          38.5
           s
          3.5




                                                                                                            . . . . Proposed join opt., baseline
          33.5                                                                w                            - - RD method in 5, CABAC
                                      .                                                                    r- RD netod if 5, baseline
                                                                                                           - - - Baseline encoder w.o. RD opt,

          32.5i-circr:                                                                                                                                                                                  . . . . . . . . . . . . . . . . . . . . . . . . . . . .-

                                                        s                                            8                                                                                                                                         13D                                               80
                                                                                                                     Bit-rate(kbit/second)
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            35                                                                            . . . . . Proposed method, baseline
                                                                                          - - Method in 5), CABAC
                                                                                          - Method is 5, baselire


            23.   5

                                          s
                                                 a.




            1O




                                                                                                                                   Y-PSNR(dB)
                                                                                                                    Figure 9a
Case 2:24-cv-00178-JRG-RSP Document 1-4 Filed 03/15/24 Page 9 of 29 PageID #: 46


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                                                                                                                                     Carphone CiF30Hz
            38.5 or w w w w w w w w w w w w w w w . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




            35.5
                                                                                                                                  ... Proposed join opt, baseline
                                                                                                                                  - - R method in 5, CABAC
                                                                                                                                   - RD  method in 5, baseline
                                                                                                                                     Baselite ecoder W., RO




                                                                                                                                           Carphone QCEF 30Hz
                            t      crics                                                                                      Y - Y - M.s------~~~~~-i--------------------~~~~~~~~~~~~~~~~--~~~~~~~~~~~~~~~~~~~~~~--~~~~~~~~~~~~~~




                        35:                                                                                                                 Proposed settsod, baseine
                           r                                                                                                            - - Method. En (5, CABAC
                                                                                                                                            Methodin(S. baseise.
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                        25.
                        20
                        15.
                        to


                           33.5                         34                     34.5                         35                    35.5                         36                     36.5                          37                    37.5                         38                     38.5                          39
                                                                                                                                                         Y-PSNR{dB)
                                                                                                                                              Figure 9b
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                                                                                              Mother-daughter QCEF 30Hz
              35,- - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - ---------------- --------------------------------- - - - - - - - - - - - - - - - - - - - - - - - - --------------------------------- ----------------




                  3.




              345                                                                                                   Proposed join opt., baseine
                                                                                                      -- RD method in 53, CABAC
                                                                                                      -- RD method in 53, baseline
                                                                                                      , -le - Baseline encoder wo. RD opt.
              335i.
                  33 ion - - - - - - - - - - - - - - - rioto

                       5.                   ESO                                      8                    3.                    O                 1.                  12                   13                                          SO
                                                                                                    Bit-ratekbitsecord)
                                                                                                  XMother-daughter QCEF 30Hz
                       A)      cy crics . . . . . . . . . . . . . . .-----------------------------------------------------------------




                       35                                                                                          . . . . . Proposed method, baseine
                                                                                                                                Method in 5. CABAC
                       30:                                                                                         - Method in S, baseine.

                       25
                       20




                              i---------------------------------------------------------------------------------------------------------------------------------------------------------------------------




                                                                                                                     Y-PSNR(dB)




                                                                                                          Figure 9c
Case 2:24-cv-00178-JRG-RSP Document 1-4 Filed 03/15/24 Page 11 of 29 PageID #: 48


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                                                                            Highway QCIF 30Hz
             39.Y - - - - - - - - - - - - - - - - - -------------------------------------- ------------------ ------------------ :------------------------------------- ---




           38.5
             38:
           37.5
             37

           36.


             36                                                    a        a Proposed join opt., baseline
                                                               w           re - RD Elethod in 5, GABAG
                    :                                                      rer Rd nethod in Si, baseline
           35.5 i.                                                            - Baseine encoder W., RER opt,




               3.

              2




                                                         ..... Proposed method, baseline
                                                         -- Method in 5, CABAC
                                                         - Method in 5, baseline


                 3.5"35" 355 "38" 36.5"37"37,5"38" 38.5" 39" 395
        ionYPSNR(dB).

                                                              Figure 10a
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                                                                                                                      Saestria:                              CIF 3OHz
                  36          or . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .-




                 35.5




                 33.5

                                                                                                                                    Proposed join                                      it, baselia
                 32.5i                           ..                                       ./'                      -- RE method in 5), CABAC
                                                                                    :                              - RE method in 5), baseline
                                         ''                                                                          - Baseline encode: wa. Rapt.




                                                                                                                        Sales Tat                                CF 32
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                                                                                                                      ... Proposed method, baseine
                  35:                                                                                              : - - Method in 53, CABAC
                          :                                                                                        : - Method in S, baseline
                  30:


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                                                                                                 a             a                                                                 -- -- - --




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                      o                            Y                                                  Y                        Y                                                                                                                                                   :
                    35                          32                    32.5                        33.                    33.5                         34                    34.5                         35                    3S                           36                    38.5
                                                                                                                                     Y-PSNRsis)


                                                                                                          Figure 10b
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             w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w w Proposed joint optimization with baseline   T.


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                                 3:             35                 32             32.5                33             33,                 34             34.5               35        3.5      35   36.5




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                             40                                                                                              -s.

                             30
                             20                                            ... " "                                      --........                                              ........ ."
                              to:

            icYPSNR(dB)
                                 31 315 32 325 33 335 34 345 35 355 36 365
                                               Figure 11
Case 2:24-cv-00178-JRG-RSP Document 1-4 Filed 03/15/24 Page 14 of 29 PageID #: 51


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                                      Proposed method, baseline T




                                            3s
                                           YSRB).
                                       Method in S, baseire




                        34                  36          37      38

                                        Figure 12
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                                                         US 9,179,147 B2
                                  1.                                                                    2
         SOFT DECISION AND ITERATIVE VIDEO                               corresponding to information in a previous frame has been
            CODING FOR MPEG AND H.264                                    removed. The residual is provided to a transform processor
                                                                         102 that applies a transform (typically a discrete cosine trans
               CROSS-REFERENCE TO RELATED                                form (DCT)), the output of which is provided to a quantizer
                           APPLICATIONS                                  104. The quantizer 104 applies lossy compression to each
                                                                         frame using an algorithm designed to co-operate with the
      This application is a continuation of U.S. patent applica other functional blocks in the system based on defined quan
   tion Ser. No. 13/244,751 filed Sep. 26, 2011, which is a tization steps. H.264 quantizers have been implemented as
   continuation of U.S. patent application Ser. No. 12/900,627 “hard decision’ quantizers that make quantization decisions
   filed Oct. 8, 2010, and grated as U.S. Pat. No. 8.331,441, 10 based solely upon the quantization levels defined. The quan
   which is a continuation of U.S. patent application Ser. No. tized version of the transformed residual is provided to an
   1 1/377,583, filed Mar. 17, 2006, and granted as U.S. Pat. No. entropy encoder 106 that removes the statistical redundancy
   8,005,140, all of which are incorporated herein by reference in the data stream, and provides as an output an H.264
   in their entirety.
                                                                      15 encoded bit stream. The output of the quantizer 104 is also
                    FIELD OF THE INVENTION                               used to determine the motion compensation that will be
                                                                         applied to a Subsequent frame. The quantizer output is pro
      The present invention relates generally to video encoding. vided to de-quantizer 108, whose output is provided to an
   More particularly, the present invention relates to the use of inverse transform processor 110. This provides a reconstruc
   soft decisions and iterative coding in Motion Picture Experts tion of the quantized residual, and is used by motion compen
   Group (MPEG) and H.264 compliant video encoding.                      sator 112 to derive a motion prediction that is then combined
                                                                         with a subsequent frame to provide the next residual. In
              BACKGROUND OF THE INVENTION                                general, motion compensation deals with temporal redun
                                                                         dancy (removal of information unchanged from a previous
      Video compression is employed to allow the creation of 25 part of the data stream); transform handles spatial redundancy
   digital video files of a manageable size. Although storage (decoupling correlation of information in an adjoining area);
   capacity and bandwidth have increased since the demand first quantization is based on psychovisual redundancy (removing
   arose for video compression, so too has the amount of digital information not needed for the viewer's perception of the
   Video data available. Accordingly, the design of new encoding image); and entropy coding is designed for removing statis
   techniques has progressed to provide both better compression 30 tical redundancy (reduction of information through the use of
   rates and higher perceptual quality. Typically, compression lossless compression). Because the quantization part intro
   techniques can be classified as either lossy or lossless com duces permanent information loss to video data, video com
   pression. Lossless compression, also referred to as entropy pression is categorized as lossy data compression. Rate dis
   compression, seeks to remove unneeded redundancy in the tortion theory, as will be understood by those skilled in the art,
   data and replace the redundant data with a marker allowing 35 indicates that the best coding efficiency a lossy compression
   full retrieval of the original data. Although this is ideal for method can achieve for coding a given information Source is
   completely accurate reproduction of a data stream or data file, characterized by a rate distortion function, or equivalently
   it typically is insufficient for video data, as the data is often distortion rate function, of the source. The four coding parts in
   not sufficiently structured to allow for a sufficient reduction in the hybrid structure all contribute to the rate distortion func
   data file size. Lossy compression discards data in a manner 40 tion and there is no easy way to quantitatively separate their
   that prevents full recovery of the original file. If lossy com contributions. Therefore, the fundamental trade-off in the
   pression is employed properly, the discarded data can be design of a video compression system is its overall rate dis
   perceptually restored by a viewer. A data file or stream cannot tortion performance. The performance of each component
   be reduced by lossless compression to a size less than the has been subject to numerous optimization attempts, many of
   entropy of the source. Lossy compression can be employed to 45 which use rate distortion (RD) methods.
   reduce a file below the entropy level, but results in a distortion       RD methods for video compression can be classified into
   that can be measured as a rate distortion.                            two categories. The first category computes the theoretical
       H.264 is a standard compression methodology employed rate distortion function based on a given statistical model for
   in as MPEG-4 and has proved its superiority to its predecessor Video data. In general, there is always a problem of model
   encoders in coding efficiency (e.g., it shows a more than 50% 50 mismatch due to the non-stationary nature of video data. The
   rate reduction in comparison to the popular MPEG-2). How second category uses an operational rate distortion function,
   ever, despite the fact that H.264 provides compression advan which is computed based on the data to be compressed. There
   tages, new encoding techniques to refine H.264 encoding can exist two main problems with operational rate distortion
   be employed to further increase the compression rates. It methods. First, the formulated optimization problem is
   should be noted that radical changes to the methodology of 55 restricted and the rate distortion cost is optimized only over
   compression cannot easily be implemented, as a standard motion compensation and quantization step sizes. Second,
   decoder has been defined that must be able to decode the              there is no simple way to solve the restricted optimization
   resulting data stream if compatibility with H.264 is to be problem if the actual rate distortion cost is used. Because hard
   maintained.                                                           decision quantization is used, there is no simple analytic
       Based on an assumption of four types of redundancy— 60 formula to represent the actual rate distortion cost as a func
   temporal, spatial, psychovisual, and statistical redundancy— tion of motion compensation and quantization step sizes.
   Video compression generally utilizes a hybrid structure, as Hence, typical Solutions to the restricted optimization prob
   shown in FIG. 1. A data stream is provided as an input to lem involve a brute force approach that is computationally
   encoder 100. Upon receipt of the data stream, a motion com expensive. For this reason, an approximate rate distortion cost
   pensation factor is applied to the data stream by motion com 65 is often used in the restricted optimization problem in many
   pensator 112. After having been motion compensated, a video operational rate distortion methods. For example, the optimi
   frame is considered to be a residual as, in the ideal, data           Zation of motion compensation based on the prediction error
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                                                          US 9,179,147 B2
                                   3                                                                    4
   instead of the actual distortion, which is the quantization error
   has been used in Some implementations.                                      T(Q(u)) = 6' (u ap)). 6                               (2)
      Most video compression standards, from the early MPEG
   1, H.261, to the newest H.264 (which is also referred as
   MPEG-4, part-10), utilize the well-known hybrid coding                                =w          d
                                                                                          w" (u (x) (dqpen) . 2Paio).
                                                                                                                          1
                                                                                                                      w. --
                                                                                                                   ) was
   structure shown in FIG.1. The motion compensation design
   in H.264 has been significantly improved over previous stan
   dards. It allows various block sizes from 4x4 to 16x16. While         where dd (f-hi-64) with 6>i>0 are constant matrices
   a large block size is desirable for homogeneous regions, a 10 defined in the standard. It is clear that the computation of (2)
   small block size makes it possible to process details effec can be conducted using only integer operations.
   tively. It also uses higher-pixel prediction accuracy.                   H.264 Supports two entropy coding methods for residual
      For the transform processor function, H.264 uses the dis coding, i.e., context adaptive variable length coding
   crete cosine transform (DCT) with a block size of 4x4 while (CAVLC) in the baseline profile and context adaptive binary
   most other standards for video and image coding usually use 15 arithmetic coding (CABAC) in the main profile. CAVLC is
   the 8x8 DCT transform. Specifically, the transform matrix is based on variable length coding tables, while CABAC uses
                                                                         advanced arithmetic coding methods. Arithmetic coding is
                                                                         generally considered to be Superior to variable length coding
                      1 /2       1 /2      1 /2        1 /2              because it can adapt to symbol statistics and assign a non
                   1/V2.5 0.5/V2.5 -0.5/V2.5 -1/V2.5                     integer number of bits to code a symbol. However, the com
           "| 1/2               -1 f2     -1 f2        1 /2              plexity of arithmetic coding is much higher. Overall, CAVLC
                  0.5/V2.5 -1/V2.5 1/V2.5 -0.5/V2.5                      provides a baseline solution for applications with limited
                                                                         computation resource while CABAC targets better coding
                                                                         performance.
   To facilitate fast implementation with integer operations, a 25 As discussed above, each individual coding part in the
   simplified transform matrix is obtained as                            hybrid structure of H.264 has been well designed to achieve
                                                                         good coding performance using the state-of-the-art technolo
                                                                         gies. Optimization of an individual part in H.264 alone is
                    1      1  1       1                                  unlikely to provide remarkable performance improvement.
                                                                      30 Further improvement of the coding performance largely
                    1 1 f2 - 1 f2 - 1
                    1    -1  -1       1                                  depends on the design of the whole structure, for which rate
                  1 ?2 -1     1 - 1 f2
                                                                         distortion methods are studied. A joint optimal design of the
                                                                         whole encoding structure is possible because the standard
                                                                         only specifies a syntax for the coded bit stream, leaving the
                                                                      35 details of the encoding process open to each designer. This
   by extracting a factor f from was
                                                                         allows for a number of different encoder implementations,
                                                                         with a standard decoder being able to decode a data stream
                     1/4 V1 10 1/4 V1 10                                 from any H.264 complain encoder.
                                                                            Rate distortion methods for video compression in general
                  V1/ 10 2/5 V1/ 10 2/5                               40 can be roughly classified into two categories: methods based
                     1/4 V1 10 1/4 V1 10                                 on Source modeling and methods based on an operational rate
                  V1 / 10 2/5 V1/ 10 2/5                                 distortion cost. The first category uses the theoretical rate
                                                                         distortion function, which characterizes the optimal rate dis
                                                                         tortion performance of any lossy coding method. The chal
   with wYw' wYw'G)f for any 4x4 matrixY where the sym 45 lenge of this approach is to model the data statistics. In gen
   bol G) denotes the element-wise multiplication.                       eral, a model mismatch typically results in inefficiencies in
      Quantization in H.264 is simply achieved by a scalar quan encoding. Because all theoretical results in rate distortion
   tizer. It is defined by 52 step sizes based on an index parameter theory are based on a given statistical model, the model mis
   p=0, 1, . . . 51. The quantization step size for a given p is match problem constantly exists as a gap between the simpli
   specified as                                                       50 fied theoretical models and the complicated real world data.
                                                                            The second category of rate distortion methods is based on
          q|p =hip, 24                                            (1)    an operational rate distortion function. An operational rate
                                                                         distortion framework for efficiently distributing bit budget
   where p, p%6 and p, floor(p/6) are the remainder and among temporal and spatial coding methods for MPEG video
   quotient of p divided by 6, and                                    55 compression has been proposed. Typically these solutions
                                                                         result in exponential complexity, which is tackled by utilizing
                     10 11 13 14 16 18
                                                                         a monotonicity property of operational rate distortion curves
              ile { 16' 16 16 16 16 }, 6> is 0.                          for dependent blocks/frames. The monotonicity property is
                                                                         based on an assumption that rate distortion performance for
                                                                      60 coding one frame is monotonic in the effectiveness of predic
   For the purpose of fast implementation, quantization and tion, which depends on the reproduction quality of reference
   transform in H.264 are combined together. Specifically, the frames. A pruning rule can then be applied to reduce search
   factor matrix f is combined with the quantization step size. complexity based on the monotonicity property. Generally
   Suppose that the decoder receives the quantized transform speaking, the above assumption implies a linear relationship
   coefficients u and the quantization parameter p for a 4x4 65 between distortion and the coding rate. This assumption is
   block. Then the following process is defined in H.264 for the valid to a large extent for early standards such as MPEG-1,
   decoding,                                                             MPEG-2. However, the total coding rate includes more than
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                                   5                                                                     6
   just the rate for coding residuals. Motion vectors from motion           FIG. 11 illustrates error accumulation during the encoding
   compensation also need to be transmitted. For early stan              of a standard video sequence; and
   dards, motion compensation is based on a large block size of             FIG. 12 illustrates error accumulation during the encoding
   16x16, leading to a small number of motion vectors to be              of a standard video sequence.
   transmitted. As such, motion vector transmission consumes
   relatively few bits, and can largely be ignored. Thus, it is                            DETAILED DESCRIPTION
   acceptable to apply the above assumption to simplify the rate
   distortion problem. However, when small block sizes, such as            The actual rate distortion cost is used as an optimization
   those in H.264, are allowed for motion compensation, motion objective function in contrast to many rate distortion methods
   vectors consume a significant portion of the total coding bits. 10 based on approximate operational rate distortion cost. Param
   Thus, this method cannot be directly applied to H.264.               eters that a hybrid video encoder can optimize in addition to
      Using the generalized Lagrangian multiplier method, a motion compensation and quantization step sizes are exam
   simple, effective operational RD method for H.264 video ined, and on that basis a joint optimization framework for
   compression, particularly for the optimization of motion hybrid video coding is formulated that can be applied to
   compensation has been proposed. Motion compensation is 15 H.264 encoding. Using soft decision quantization (SDQ)
   optimized based on the following operational rate distortion instead of hard decision quantization, the quantized residual
   COSt,                                                                itself acts as a free parameter that can be optimized in order to
                                                                        improve compression performance. In the SDQ, the entropy
                                                                        coding is brought into the quantization design so that symbi
           v = argmind(x, p(n; v)) + r(v)                        (3)    otic effects between quantization and entropy coding can be
                                                                        obtained. The general optimization framework can then be
                                                                        formulated as jointly designing motion compensation, quan
   where X stands for the original image block, p(m.V) is the tization, and entropy coding in the hybrid video coding struc
   prediction with given prediction mode mand motion vector V. ture. Surprisingly, this generality not only improves compres
   d() is a distance measure, r(v) is the number of bits for coding 25 sion performance in terms of the rate distortion tradeoff, but
   V, and W is the Lagrangian multiplier. Empirical evidence also makes the optimization problem algorithmically trac
   indicates that a good Lagrangian multiplier W, can be repre table. Indeed, with respect to the baseline profile of H.264,
   sented as                                                            three rate distortion optimization algorithms—a graph-based
                                                                        algorithm for optimal soft decision quantization given motion
            =0.85.2(?-123                                        (4) 30 compensation and quantization step sizes, an iterative algo
   where p=0, 1, . . . 51 is the quantization parameter in (1). rithm for optimal residual coding given motion compensa
   Clearly, the optimization here is not conducted based on the tion, and an iterative overall algorithm for H.264 baseline
   actual rate distortion cost. In order to avoid the expensive profile encoding can be employed with them embedded in
   computation for residual coding, the distortion is approxi the indicated orderina presently preferred embodiment. SDQ
   mated by the prediction error and the residual coding rate is 35 is an important element, and in one embodiment, the algo
   not computed for motion compensation. Therefore, the opti rithm for optimal SDQ can be considered core. It helps to
   mization here is largely separated from residual coding.             bring motion compensation, quantization and entropy coding
      It is, therefore, desirable to provide a method of encoding all into the optimization problem with the actual rate distor
   Video data using H.264, as well as other encoding standards, tion cost being its objective function, enabling joint design of
   making use of joint optimization across different elements in 40 components in the hybrid coding structure. The SDQ design
   a hybrid encoder.                                                    can be based on a graph structure, which depends on the
                                                                        specific entropy coding method in the hybrid coding struc
           BRIEF DESCRIPTION OF THE DRAWINGS                            ture, for instance, the context adaptive variable length coding
                                                                        (CAVLC) method in the case of H.264 baseline profile encod
      Embodiments of the present invention will now be 45 ing. Given motion compensation and quantization step sizes,
   described, by way of example only, with reference to the the graph-based algorithm can perform optimal soft decision
   attached Figures, wherein:                                           quantization to certain degree. The disclosed iterative overall
      FIG. 1 is a block diagram illustrating a hybrid video algorithm has been implemented based on the reference
   encoder;                                                             encoder JM82 of H.264. Comparative studies show that it
      FIG. 2 is a block diagram illustrating a logical layout of a 50 achieves a significant performance gain over other baseline
   hybrid video encoder and corresponding decoder,                      based methods reported in the literature.
      FIG.3 is a block diagram illustrating the residual encoding          In a first aspect of the present invention, there is provided a
   and decoding process;                                                method of encoding a digitized video frame as an MPEG
      FIG. 4 is a flowchart illustrating a method of iteratively frame. The method comprises the steps of receiving the digi
   optimizing quantization step size and co-efficients;              55 tized video frame; applying a predetermined motion compen
      FIG. 5 is a trellis diagram for use in solving iterative ele sation and a transform to the digitized video frame to obtain a
   ments of the method illustrated in FIG. 4;                           transformed residual frame; iteratively determining quan
      FIG. 6 is a flowchart illustrating an iterative method of tized transform coefficients based on the transformed residual
   optimizing motion compensation;                                      frame for encoding as an MPEG frame by assuming a fixed
      FIG. 7 is a trellis diagram for use in solving iterative ele 60 motion prediction, applying a soft decision quantization,
   ments of the method illustrated in FIG. 6;                           using the fixed motion prediction, for fixed quantization step
      FIG. 8 is a trellis diagram used for deriving a soft decision sizes to the transformed residual frame to obtain quantized
   quantization method;                                                 transform coefficients, updating the quantization step sizes
      FIGS. 9a, 9b and 9c illustrate encoding performance for using the quantized transform coefficients, and repeating the
   standard video sequences;                                         65 steps of applying the Soft decision quantization for the
      FIGS. 10a and 10b illustrate encoding performance for updated step sizes, and updating the step sizes until a rate
   standard video sequences;                                            distortion cost associated with the quantized transform coef
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   ficients and quantization step sizes is below a predefined tized transformed residual; and entropy coding the Soft deci
   threshold; and entropy encoding the iteratively quantized sion quantized transformed residual along with the motion
   transform coefficients and quantization step sizes along with compensation to obtain the H.264 complaint frame.
   motion prediction to obtain an MPEG frame.                      In an embodiment of the present invention, the soft deci
      In an embodiment of the first aspect of the present inven sion quantization is designed for symbiotic co-operation with
   tion, the soft decision quantization is designed for encoding the method of entropy coding employed in the step of entropy
   co-operation with the method of entropy coding used in the coding the soft decision quantized residual. In another
   step of entropy encoding the iteratively determined quantized embodiment, the step of applying the Soft decision quantiza
   transform coefficients to improve the rate distortion perfor tion includes computing the quantized transform coefficients,
   mance of the iteratively determined quantized transform 10 U, as
   coefficients. In other embodiments, the method includes the
   step of determining a motion compensation in accordance
   with the iteratively determined quantized transform coeffi                            16K
   cients and quantization step sizes. The step of determining a             U = argrin) d(zi, T'(uk grkio)) + A r(U),
   motion compensation can include: computing a motion pre 15                            k=1

   diction in accordance with a quantized residual frame deter
   mined from the iteratively determined quantized transform where q is a quantization step size, d(,) represents the dis
   coefficients and quantization step sizes; iteratively applying
   the soft decision quantization using the computed motion tortion between the residual frame and the quantized residual
   prediction, and updating the step sizes until a rate distortion frame determined from U and quantization step sizes, and
   cost associated with the quantized residual encoding is below r(U) is the number of bits needed for the method of entropy
   a predetermined threshold; and repeating the steps of com coding to encode U.
   puting the motion prediction in accordance with the quan              In a further embodiment, the step of applying the soft
   tized residual reconstruction and iteratively applying the soft decision quantization includes: applying a soft decision quan
   decision quantization and updating the step size until an 25 tization, based on a predetermined motion prediction, to the
   actual rate distortion cost associated with the motion predic transformed residual to obtain quantized transform coeffi
   tion and encoded quantized residual is below a predetermined cients, the applied soft decision quantization having prede
   rate distortion cost threshold.                                     termined quantization step sizes; computing updated quanti
      In a second aspect of the present invention, there is pro Zation step sizes in accordance with the quantized transform
   vided a method of encoding a digitized video frame as an 30 coefficients; and iteratively obtaining new quantized trans
   MPEG frame. The method comprises: receiving the digitized form coefficients using the computed quantization step sizes,
   video frame; applying a predetermined motion prediction and and computing the updated quantization step sizes in accor
   a transform to the digitized video frame to obtain a trans dance until a rate distortion cost associated with the quantized
   formed residual; applying a soft decision quantization based transform coefficients and quantization step sizes is less than
   on the predefined motion prediction to the transformed 35 a predetermined threshold. In further embodiments, the steps
   residual to obtain a soft quantized residual; computing a of iteratively obtaining new quantized transform coefficients,
   motion prediction in accordance with the soft quantized U, and computing the updated quantization step sizes, q,
   residual; repeating the steps of applying the Soft quantization
   based on the computed motion prediction and computing the involve determining the set {q.U} as
   motion prediction until an actual rate distortion cost associ 40
   ated with the motion prediction and encoded soft quantized                                16K
   residual is below a predetermined rate distortion cost thresh
   old; and entropy coding the soft quantized residual along with
   the motion prediction to obtain an MPEG frame.
      In embodiments of the second aspect of the present inven 45
   tion, the soft decision quantization is designed for encoding where r(q) is the number of bits needed for the method of
   co-operation with the method of entropy coding used in the entropy coding to encode q. In other embodiments, the step of
   step of entropy encoding the iteratively determined soft quan computing updated quantization step sizes, q, in accordance
   tized transform coefficients for the purpose of improving the with the quantized transform coefficients U includes deter
   rate distortion performance of the iteratively determined 50 mining q as
   quantized transform coefficients. In another embodiment, the
   step of applying a soft decision quantization includes: apply
   ing soft decision quantization for fixed quantization step sizes                    16K

   to the transformed residual to obtain quantized transform                 q = argrin)k=1 dz , T (us at 16) + r(a).
   coefficients; updating the quantization step sizes using the 55
   quantized transform coefficients; and repeating the steps of
   applying the Soft decision quantization for the updated step In further embodiments, the step of determining q includes
   sizes and updating the step sizes until a rate distortion cost using a Viterbi search to traverse a trellis representing the
   associated with the quantized transform coefficients and quantization step sizes of the Solution space of q and the
   quantization step sizes is below a predefined threshold.         60 corresponding rate distortion cost of each state transition.
      In a third aspect of the present invention, there is provided      In a further embodiment, the method includes the step of
   a method of encoding a digitized video frame as an H.264 determining a motion prediction inaccordance with the quan
   compliant frame. The method comprises the steps of receiv tized residual determined from the quantized transformed
   ing the digitized video frame; applying a predetermined residual, which in turn is determined from quantized trans
   motion compensation and a transform to the digitized video 65 form coefficients and quantization step sizes. The step of
   frame to obtain a transformed residual; applying a soft deci determining the motion prediction, {m.V} can include com
   sion quantization to the transformed residual to obtain a quan puting
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                                                                                                      10
                                                                        of computing the Soft decision quantized transform coeffi
                        16K                                             cients can include computing a block of quantized transform
                                                                        coefficients, u, for each block in the plurality as

   where Z represents a reconstruction of the quantized residual,
   X-P(m, V) is the residual resulting from the prediction P(m,
   V), and r(m)and r(V) represents the number of bits needed for
   the method of entropy coding to encode the prediction P(m, 10 In other embodiments, the step of computing the block of
   V). In other embodiments, the method includes the steps of quantized transform coefficients includes constructing a
   obtaining a new residual using the determined motion predic graph having paths from a start node to an end node, the paths
   tion and applying the transform to the new residual to obtain representing all possible blocks of quantized transform coef
   an updated transformed residual; applying the soft decision ficients for the given transformed residual, each path having a
   quantization to the updated transformed residual in accor 15 cost defined as the sum of all costs allocated to all branch
   dance with the determined motion prediction to obtain an
   updated quantized residual; updating the motion prediction in transitions
                                                                    being  equal
                                                                                 from one state to another along the path, the cost
                                                                                  to the rate distortion cost of the corresponding
   accordance with the updated quantized residual; and repeat block of quantized         transform coefficients u calculated as
   ing the steps of obtaining a new residual, applying the soft
   decision quantization to the updated transformed residual and
   updating the motion prediction until a rate distortion cost
   associated with the motion compensation and updated quan traversing the path in the graph leading from the start node to
   tized residual is smaller than a predetermined rate distortion the end node having the minimum associated cost; and deter
   threshold. The step of applying the Soft decision quantization mining the quantized transform coefficients associated with
   can include obtaining updated quantized transform coeffi 25 the traversed path. In further embodiments, nodes in the graph
   cients U as
                                                                    are connected to neighboring nodes as determined by char
                                                                    acteristics of the method of entropy coding applied in the step
                    16K                                             of entropy coding the Soft decision quantized transformed
          U = argrin) d(zi, T'(uk grk 16)) + A r(U),             30
                                                                    residual. In other embodiment, nodes are connected to neigh
                    k=1                                             boring nodes by branches, each branch having a weight deter
                                                                        mined in accordance with characteristics of the method of
   where q is a quantization step size, d(,) represents the dis entropy coding, Such as context adaptive variable length cod
   tortion between the residual frame and the updated quantized ing, applied in the step of entropy coding the soft decision
   residual frame determined from U and quantization step 35 quantized transformed residual.
   sizes, and r(U) is the number of bits needed for the method of          In a fourth aspect of the present invention, there is provided
   entropy coding to encode U. In further embodiments, the step a method of encoding a digitized video frame as an H.264
   of obtaining updated U is followed by the steps of: determin compliant frame. The method comprises receiving the digi
   ing new quantization step sizes in accordance with U; and tized video frame; applying a predetermined motion compen
   iteratively repeating the steps of obtaining U and determining 40 sation and a transform to the digitized video frame to obtain a
   new quantization step sizes until a rate distortion cost asso transformed residual; iteratively applying a soft decision
   ciated with the quantized residual is below a predetermined quantization, having defined quantization step sizes, to the
   threshold. The step of determining new quantization step transformed                residual to obtain quantized transform coeffi
   sizes can include calculating the step size, q, as                   cients,  and updating   the defined quantization step sizes in
                                                                     45
                                                                        accordance with the quantized transform coefficients until a
                     16K                                                rate distortion cost associated with the iteratively quantized
           d = argninX d(zi, T'(u. grk/161)) + A r(a),                  transform coefficients and quantization step sizes is below a
                    k=1                                                 threshold; iteratively determining a motion prediction based
                                                                     50 on the iteratively quantized residual determined from the
   where U is the newly updated quantized transform coeffi iteratively quantized transform coefficients and quantization
   cients. The step of updating the motion prediction, {m.V} can step sizes, applying the motion prediction and the transform
   include computing                                                    to the original digitalized video frame to obtain an updated
                                                                        transformed residual and iteratively applying the Soft deci
                                                                     55 sion quantization to the updated transformed residual and
                         16K                                            updating defined quantization step sizes in accordance with
                                                                        the determined motion compensation until a rate distortion
                                                                        cost associated with the quantized residual and motion pre
                                                                        diction is below a threshold; and entropy coding the soft
   where Z represents the newly updated quantized residual. 60 decision quantized residual along the determined motion
      In another embodiment, the step of applying a soft decision compensation to obtain the H.264 complaint frame.
   quantization includes dividing the transformed residual into a          In embodiments of the fourth aspect of the present inven
   plurality of distinct blocks; computing soft decision quan tion, the Soft decision quantization is designed for symbiotic
   tized transform coefficients for each of the plurality of distinct co-operation with the method of entropy coding employed in
   blocks; and combining the quantized transform coefficients 65 the step of entropy coding the Soft decision quantized
   of each of the plurality of blocks to obtain quantized trans residual, and may include computing the quantized transform
   form coefficients for the entire transformed residual. The step coefficients, U, as
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                                    11                                                                      12
                                                                           tion factor P. and the result is provided to transform processor
                     16K                                                   102. The transformed residual is provided to quantizer 104,
          U = argrin) d(zi, T'(us grk/161)) + A r(U),                      whose output is provided to entropy encoder 111. The output
                     k=1
                                                                           of quantizer104 is also provided to inverse quantizer108, and
                                                                           then to inverse transform 110. The reconstructed residual,
      where q is a quantization step size. Updating the quantiza         along with the motion compensation factor is provided to
   tion step sizes may include computing new quantization step           frame buffer 114, which is used as a resource by motion
   sizes q as                                                            compensator 112 in determining the motion prediction value
                                                                         P. The motion compensator 112 also provides prediction
                                                                      10 information, including a mode and motion vector to entropy
                    16K                                                  encoder 111. The entropy encoder 111 provides as its output
          d = argninX d(zi, T'(u. grk/161)) + A r(a).                    an encoded bitstream representative of the quantization out
                    k=1
                                                                         put U, the step size q the modem, and the motion vector V.
                                                                           The bitstream is then transmitted to the decoder 116. The
     The step of determining the motion prediction, {m.V} can         15   bitstream is entropy decoded by entropy decoder 118, and the
   include computing                                                       separate data streams are provided to inverse quantizer 108
                                                                           and motion compensator 112. Motion compensator 112 is a
                                                                           mirror of the compensator in the encoder to allow for proper
                           16K                                             reconstruction of the data stream. It also relies upon output
                                                                           from frame buffer 114. The output of inverse quantizer 108 is
                                                                           provided to inverse transform processor 110, whose output is
                                                                           combined with the output of motion compensator 112 to
                                                                           create the reconstruction of data stream X. The reconstructed
      In another aspect, the present application describes a frame is provided to Frame buffer 114 as well as to an output.
   method for obtaining an optimal sequence of quantized coef 25 Note that the previously coded frames are assumed known in
   ficients for a block of transform residuals, based on a context    the frame buffer when optimization of the current frame is
   adaptive entropy encoder. The method includes constructing discussed. For a given distortion measure d(), the actual
   a graph representing a plurality of sequences of quantized reproduction error for coding a whole frame X is d (XX),
   coefficients for the block of transform residuals; and selecting where X is the reconstruction of X. Correspondingly, the
   in said graph a sequence of quantized coefficients that has a 30 entire rate for coding Xinvolves in 4 parts, i.e., the prediction
   minimum rate-distortion cost, wherein rate-distortion cost is      modes m, motion vectors V, quantization step sizes q, and
   based on distortion cost and rate cost, and wherein rate cost is   quantized transform coefficients U. For a given entropy cod
   based on the entropy encoder.                                      ing method with its rate function r(), which is defined as the
      In a further aspect, the present application describes an number of bits for coding an input, the entire coding rate is
   apparatus for obtaining an optimal sequence of quantized 35 r(m)+r(V)+r(q)+r(U). The actual rate distortion cost for cod
   coefficients for a block of transform residuals, the apparatus ing X is
   comprising a quantizer and a context-adaptive entropy
   encoder. The quantizer is configured to construct a graph
   representing a plurality of sequences of quantized coeffi where w is a positive constant determined by end users based
   cients for the block of transform residuals; and select in said 40 on both the available bandwidth and the expected video qual
   graph a sequence of quantized coefficients that has a mini ity.
   mum rate-distortion cost, wherein rate-distortion cost is            Consider a block-based coding scheme. A frame from the
   based on distortion cost and rate cost, and wherein rate cost is        video stream is divided into K 16x16 macroblocks. Each
   based on the entropy encoder.                                      macroblock defines a quantization step size and a prediction
      In yet a further aspect, the present application describes a 45 mode, i.e., m={m. .... mk}, q{q1..... qe). A macroblock
   non-transitory computer-readable storage medium embody can be further partitioned into several sub-blocks according to
   ing computer-executable instructions that, when executed by the prediction mode. The number of subblocks in the whole
   a quantizer, cause quantizer to construct a graph representing frame is denoted as L. The motion vectors are then defined as
   a plurality of sequences of quantized coefficients for a block V={v1,..., V}. In H.264, the residual coding is based on 4x4
   of transform residuals; and select in said graph a sequence of 50 blocks. There are 16K4x4 blocks in a frame. Let X be the kth
   quantized coefficients that has a minimum rate-distortion pixel block, X be the corresponding reconstruction, and u be
   cost, wherein rate-distortion cost is based on distortion cost     the corresponding quantized transform coefficient block.
   and rate cost, and wherein rate cost is based on a context              Thus, X-(x1, ..., Xiak), X-(x1, . . . . klok}, and
   adaptive entropy encoder. The selected sequence of quantized U={u,..., u}. The actual RD cost of (5) becomes,
   coefficients for the block of transform residuals is optimal. 55
      Other aspects and features of the present invention will
   become apparent to those ordinarily skilled in the art upon         16K                                                              (6)
   review of the following description of specific embodiments
   of the invention in conjunction with the accompanying fig
   U.S.                                                               60
     Generally, the present invention provides a method and               From the rate distortion theoretic point of view, a good
   system for video coding. The use of soft decision processing Video compression design would be to find a set of encoding
   allows for iterative coding to optimize multivariable solutions and decoding algorithms to minimize the actual RD cost as
   across a number of elements in a hybrid video encoder.              given in (6). However, in the syntax-constrained optimization
      FIG. 2 illustrates the signal flow of a typical hybrid codec. 65 scenario, the decoding algorithms have already been selected
   As with FIG. 1, an encoder 100 receives a data stream X. The        and fixed. Thus, complete freedom to find an ideal compres
   frames in the data stream are motion compensated by predic sion is not available. Specifically, for a given 4x4 quantized
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                                  13                                                                   14
   transform coefficient block uel J (subscript omitted for sim           method. As illustrated in FIG. 3, an encoder (top) uses a
   plicity), the corresponding prediction modem, motion vector            mapping function C. and lossless encoding Y to create a rep
   V, and quantization step size q the reconstruction is computed         resentation of an input residual block Z. In the decoder (bot
                                                                          tom), the lossless decoder applies Y' to recreate C.(z), which
                                                                          is then decoded by function B() to provide 2B(C.(z)).
                                                                             Given a residual block ZX-p(m,v) and a fixed quantization
   where T' () is the inverse DCT transform. Under this con               step size q the RD optimal residual coding is represented as
   straint, the maximal variability and flexibility an encoder can        a solution to the minimization problem of
   enjoy before establishing our optimization problem based on
   the actual RD cost of (6) should be determined.                 10
      Conventionally, the constraint of (7) is used to derive a
   deterministic quantization procedure, i.e.,

   which actually minimizes the quantization distortion d(x,x). 15 where d(Z, B(C.(Z)) is the actual distortion of quantization
   From the syntax-constrained optimization point of view, error, 1 (C.(z)) is the total rate for residual coding, and is a
   however, there is no deterministic relationship betweenu and constant, which has an interpretation of the slope of the result
   (m.V) given X. Indeed, inspired by the fixed-slope universal ing rate distortion curve. In case of syntax constrained opti
   lossy data compression Scheme considered in E.-h. Yang, Z. mization, the decoding mapping B() and the lossless coding
   Zhang, and T. Berger, “Fixed-slope Universal Lossy Data 20 algorithm Y/y are fixed by the standard. Thus, for H.264
   Compression', IEEE Transactions on Information Theory, encoding y/Y is the rate function of CAVLC and f()=T'
   Vol. 43, No. 5, pp. 1465-1476, it can be shown that given (Q' ()), where T' () and Q' () are the inverse DCT and
   (X.m.V), eachu (perblock) itself (or equivalently Uperframe) de-quantization, respectively. In this case, the problem of (9)
   is a free parameter and an encoder designer has the flexibility reduces to finding uC.(Z) to minimize the RD cost, i.e.,
   to choose the desired u to minimize (6). As will be understood 25
   by those skilled in the art, such a determination of u (or
   equivalently U) is called soft decision quantization.                       u = argmind(x, T'(ug)) + A. ly(u)                 (10)
      A simple example illustrating the idea underlying the soft
   decision quantization is now presented for exemplary pur
   poses. Consider a quantization step size q 5, a block of trans- 30 where q is a given quantization step size, and the minimiza
   form coefficients c=T(x-p(m,v))=(84.0,-8, 17.0,-11-8.1), tion in (10) is over all possible quantized values. Such a u is
   and the CAVLC method in H.264. The quantization output not achieved, in general, by the hard decision process using
   given by the conventional hard decision quantizer is,                 (8).
          u'=(17,0,-2.3.0,-2,-2.0)                                    35    Having described SDQ, the complete syntax-constrained
                                                                         optimization problem for H.264 hybrid video coding can now
   in this case, the resulting distortion for the block is 15, and the be formulated as follows:
   number of bits resulting from using CAVLC to code u' is 45.
   On the other hand, with a 30, an SDQ as described may
   output,                                                                     16K                                                  (11)
                                                                     40
         u=(17.0,-2.4.0,-2,-1,0)
   in this case, the resulting distortion is 25, but the number of
   bits needed for CAVLC to code u reduces to 27. With w-30,
   the rate distortion costs resulting from u' and u are respec where q is is the quantization step size corresponding to the
   tively 1365 and 835 with the latter significantly smaller than 45 kth block, the residual is denoted as Z={Z, ..., Zek}=X-P
   the former. Note that the value -8 is quantized into both -2 (m.V), and P(m.V) is the prediction given by (m,V). When m
   and -1 in u, as c -8, us -2 and c, -8, u, -1; this is where and V are fixed, the minimization over U and q in (11) repre
   the name “soft decision quantization' comes from. Clearly,          sents the optimal residual coding. In general, the overall
   SDQ can trade off a little more distortion for a significant rate Solution to (11) represents the best compression performance
   reduction for using CAVLC.                                       50 an encoder under H.264 decoding syntax constraints can
      The idea of trading off a distortion for a better RD perfor possibly achieve for the current frame given previously
   mance has already been used partially in the H.264 reference encoded frames. The optimization problem posed in (11),
   Software, however it is only done in an ad hoc fashion. A together with its solution, gives a general framework for
   whole block of quantized coefficients can be discarded under jointly designing motion compensation, quantization, and
   certain conditions, e.g., when there is only one non-Zero 55 entropy coding to minimize the actual rate distortion cost in
   coefficient taking a value of 1 or -1. This is equivalent to H.264.
   quantizing that coefficient to 0, although a hard decision             From the RD optimization point of view, the optimal cod
   Scalar quantizer outputs 1 or -1. Such practice is well justified ing design is now equivalent to Solving the problem of (11).
   by experimental results. To get better compression perfor This is difficult in general due to the mutual dependency
   mance, SDQ can be applied in a systematic and proper fash- 60 among m, V. q and U. To make the problem tractable, an
   1O.                                                                 iterative solution is presented. Motion compensation and
      One purpose of SDQ is to minimize the actual RD cost by residual coding can be optimized alternately in a repeating
   adapting quantization outputs to a specific entropy coding fashion. Specifically, three rate distortion optimization meth
   method. It originates from the fixed-slope universal lossy data ods are presented—one for optimal soft decision quantization
   compression scheme. Recently SDQ has been successfully 65 given motion compensation and quantization step sizes, one
   applied to improve the JPEG image codec. FIG.3 shows the for optimal residual coding given motion compensation, and
   universal structure of the fixed-slope lossy compression one for overall optimal hybrid video encoding. Application of
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                                 15                                                                  16
   these methods in series, or in isolation, allows for joint com       In practice, there is no need to explore all 52 states because
   ponent design to improve hybrid video encoding perfor             the distortion is a quadratic function of the step size and the 52
     aCC.
                                                                     step sizes in H.264 are apart away from each other. Given u
      Given motion prediction (m.V) and quantization step sizes and Z, the optimal q is likely to be within a small neighboring
   q, in optimal                                                     region of T(z) u?(u'u). Accordingly, it may be sufficient to
                                                                     examine as few as 4 states that fall in this region. Thus, the
                         16K                                 (12)
                                                                     computational complexity is greatly reduced.
          SDQ, U = argninXk=1 d(c., T (us quio) + A r(U)                Based on the algorithm for residual coding disclosed
                                                                  10
                                                                     above,  a joint optimization algorithm for Solving (11) can be
                                                                     employed to alternately optimize motion compensation and
      Given motion prediction (m.V), in optimal residual coding, residual      coding as illustrated in FIG. 6.
                                                                        Step 160. Motion compensation. For a given residual
   we need to compute
                                                                              reconstruction Z:{Z-T'(uq16)}, motion predic
                                                                     15
                                                                              tion is calculated as
                         16K                                  (13)
                                                                                                                                   (15)

     To make the (13) tractable, the following iterative proce
   dure with the above SDQ algorithm embedded can be used.
   As illustrated in FIG. 4 an iterative process of the present            which is equivalent to (11) for a given (q, U).
   invention can be expressed as                                         Step 162. Optimal residual coding. For given m and V, the
      Step 150. Initialize the quantization step sizes for all mac         iterative process described above with relation to equa
        roblocks using the empirical equation of (4) with a given 25       tion (13) can be used to find the optimal quantization
         w and (1).                                                        step sizes q and quantization outputs U.
      Step 152. For given q, compute U using an SDQ such as              Step 164. Repeat the above process steps until the decrease
        (12).                                                              of the actual RD cost is smaller than a given threshold.
      Step 154. For given U, update q using an update technique         With   reference to the solution to (15), H.264 defines 7
        Such as                                                    30
                                                                      prediction modes for motion compensation. The dependency
                                                                      among these modes is very weak, but the choice of the mode
                   16K                                        (14)    dominates the coding performance because the prediction
                                                                      mode directly determines the partitioning of the whole frame
                                                                     35   into blocks with various sizes, as well as the number of
                                                                    motion vectors. Therefore, there is no better algorithm than a
      Step 156. Iteratively repeat Step 152 and 154 until the full search to select the prediction mode. Because the number
         decrease of J associated with the quantized residual in of   different modes is relatively small, this is practical. Motion
                                                                    compensation   optimization then becomes a procedure to
         two iterations is Smaller than a given threshold.
      The initialization of q targets a fast convergence of the 40  compute  motion  vectors for all possible modes and choose the
   iteration. It has been shown that (4) indicates a close relation one resulting the  lowest RD cost. Meanwhile, because the
   ship between the quantization step size and the optimal mode selection dominates the coding performance and deter
   Lagrangian multiplier W. From the optimization point of view, mines the number of motion vectors, the dependency of the
   this relationship also exists for the disclosed fixed-slope predictive coding for the motion vectors can be further
   method. Thus the above process can be used to initialize the 45 decoupled. In doing so, the optimization of the whole frame
   quantization step size to accelerate the convergence of the can be solved in a block-by-block manner with the block size
   above iterative algorithm.                                       determined by a given mode. Specifically, for a given mode
      The solution to (14) can be obtained by using a trellis m, a corresponding pixel block X and its residual reconstruc
   structure instead of attempting to solve the function. In tion block 2 (subscripts omitted for simplicity), the motion
   H.264, a quantization step size is defined for each 16x16 50 vector is computed by
   macroblock, and is coded by a first order predictive code. The
   distortion termin (14) is macroblock-wise additive with given
   U. A trellis structure, as shown in FIG. 5, can then be used to              v = arg mind(x - p(m, V), 2) + r(v)                (16)
   evaluate the rate term r(q) additively according to the predic
   tive code. The trellis, in the illustrated embodiment, has 52 55
   states, corresponding to the 52 distinct quantization step Since d(x-p(m,v).2)=d(x-2, p(m,v)), we further have
   sizes, and K stages numbered from j-1 to j=K, each corre
   sponding to a macroblock, in addition to the initial and end
   stages. States at adjacent stages are fully connected. Assign to           v = arg mind(x -2, p(n; v)) + r(v)              (17)
   each transition from a state, say q, at Stage, 0s.<K, to a state, 60
   say q', at Stage (+1) a cost being the Sum of the distortion of
   the (+1)th macroblock resulting from using q' as its quanti            Compare the problem of (17) with the optimization prob
   zation step size and times the number of bits needed to lem of (3). For the given 2, the problem of (17) is equivalent
   encode q' given q. No cost is assigned to transitions from to searching for a prediction to match X-2 in (3). Therefore,
   states at Stage K to the end stage. At this point, a Viterbi 65 the computational complexity is almost the same. The time
   algorithm can be employed to search the trellis for the desired for computing X-2 is negligible when U and q are given.
   Solution.                                                            Equation (17) allows a reduction in the actual RD cost,
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                                                         US 9,179,147 B2
                                   17                                                                  18
   whereas prior art methods have been based on only an                                           -continued
   approximation of the actual RD cost.                                                                             1
      At this point, it is not clear whether or not the above               T*(u- a) = w ?uo (daipan): 21); wi
   iterative joint optimization algorithm will converge to the
   global optimal solution of (11). However, the iterative joint 5 Since w defines a unitary transform, we have
   optimization algorithm does converge in the sense that the
   actual rate distortion cost is decreasing at each iteration step.       |wt. Yvil|2=||Y12
   The computational complexity of the proposed iterative algo equivalently, that is,
   rithm comes from three parts, i.e., optimal residual coding, 10                                                            (20)
   motion vector computation, and mode selection. In case of
   H.264, the motion vector updating part and the mode selec         where  Y  is any    4x4 matrix,  and
   tion part do not greatly increase computational complexity
   compared to prior art rate distortion optimization methods.
   The main extra computational complexity of embodiments of 15                     4 V10 4 V10
   the present invention result from the optimal residual coding                   V10 512 V10 5/2
   part, particularly the SDQ algorithm.                                        | 4 V10' 4 V10
      To properly employ SDQ, an understanding of how SDQ                          V10 512 V10 5 / 2
   aids optimization is required. One skilled in the art will appre
   ciate that if designed properly, an SDQ methodology will
   create symbiotic effects with the required entropy encoder to       Consider Zw'-(w:Ziw');w. Applying (21), we compute
   result in a reduction in the size of the encoded bitstream. The   the distortion term in (18) with the Euclidean measure by
   core of a graph-based SDQ method for solving the minimi
   zation problem of (12) will now be discussed with reference                                                     12         (21)
   to the baseline entropy coding method of H.264. It should be 25
   understood that although the eventual SDQ algorithm dis
   closed is designed for H.264 baseline encoding, the tech                   =|w (6.3-6) of - uodal pol-2Palo (64) will
   niques used to derive it can be applied to other encoding                  = |c - u & dq pen). 2Patof 64 & BII?
   methods to achieve a similar effect.
      For a given residual and quantization step size, q, the dis 30
   tortion term in (12) is block-wise additive. Note that where c=w ZwGK)f . The equation of (21) brings to us two
   U={u,..., u}. In the baseline profile encoding of H.264. advantages. The first is the high efficiency for computing
   encoding of each block u depends not only on u itself, but distortion. Note that Band dd are constant matrices defined in
   also on its two neighboring blocks. However, such depen the standard. c is computed before soft decision quantization
   dency is very weak, and the number of bits needed to encode for a given Z. Thus, the evaluation of D consumes only two
   u largely depends on u itself. Therefore, in the optimization integer multiplications together with Some shifts and addi
   problem given in (12) for the whole frame, we will decouple tions per coefficient. More importantly, the second advantage
   Such weak dependency. In doing so, the optimization of the is the resulted element-wise additive computation of distor
   whole frame can be solved in a block-by-block manner with 40 tion, which enables the Soft decision quantization problem to
   each block being 4x4. That is, the optimal U can be deter be solved using Viterbialgorithm.
                                                                     After applying the result of (21) to (18), the soft decision
   mined independently for each us. By omitting the Subscript, quantization
   the optimization problem given in (12) now reduces to,                      problem becomes
                                                                    45
                                                                               u = arg min||c - u & dq (pl. 2Patof 64 & BII+A r(u)   (22)


   where r(u) is the number of bits needed for CAVLC to encode Note         that every each matrix, e.g., u, is a 4x4 matrix. For
   u given that its two neighboring blocks have been optimized. 50 entropy     coding, the 4x4 matrix ofu will be Zig-Zag ordered
      To solve (18) a graph-based method, as described below, of algorithmsequence.
                                                                     into a  1x16                To facilitate our following discussion
                                                                                      design based on CAVLC, we introduce a new
   can be employed. The distortion term in (18) is defined in the denotation, i.e., to add a bar on the top of a matrix to indicate
   pixel domain. It contains inverse DCT transform, which is not the Zig-Zag ordered sequence of the corresponding matrix.
   only time consuming, but also makes the optimization prob 55 Thus, u represents the 1x16 vector obtained by ordering u.
   lem intractable. Consider that DCT is a unitary transform, Then, the equation of (22) is rewritten as follows,
   which maintains the Euclidean distance. We choose the
   Euclidean distortion measure for d(...). Then, the distortion can
   be computed in the transform domain in an element-wise                    u = arg minic - u & dq (pl. 2Pac 1648 BI + A r(u)      (23)
   additive manner.                                                                    R
                                                                    60
     As reviewed above, the transform and quantization in
   H.264 are combined together. Specifically, the residual               where symbol G) still indicates the element-wise multipli
   reconstruction process is                                             cation between two vectors.
                                                                           To solve the problem of (23), we need to examine the rate
                                                                    65   for coding uusing CAVLC, i.e., r(u). In the following, we first
                                                                         review the CAVLC method. Then, a graph-based solution is
                                                                         proposed.
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     CAVLC is used to code Zig-Zag ordered quantized trans           tendency. All these delicate designs together pave the way for
   form coefficients in the H.264 baseline profile. For a given      CAVLC to be adopted in the baseline profile of H.264.
   Zig-Zag sequence level, CAVLC encoding is conducted in              The minimization problem in (23) is equivalent to a search
   reverse order. In particular, the CAVLC encoding algorithm is     for an output sequence to minimize the rate distortion cost.
   Summarized as follows,                                            Targeting an efficient search, we propose a graph-based
     1. Initialization. The sequence is scanned in reverse order method. Specifically, a graph is constructed to represent the
        to initialize two sets of parameters. The first set includes vector space of the quantization outputs, with each transition
        TotalCoeffs, T1s and TotalZeros, which represent the standing for a run, level pair and each path in the graph giving
        total number of non-zero coefficients, the number of 10 a unique sequence of quantization output. As discussed in the
        trailing coefficients with value +1, and the number of above, the distortion termin (23) can be easily computed in an
        Zero coefficients between the first non-zero coefficient              element-wise additive manner. However, it is difficult to
        and the scan end, respectively. The definition of Tls is evaluate the rate term due to the adaptive coding table selec
        based on an observation that the highest frequency non tion in CAVLC. In the following, we shall develop details of
        Zero coefficients in the scan are often a sequence oftl, 15 the graph to facilitate an additive rate evaluation according to
        called trailing ones. CAVLC allows at most 3 trailing the CAVLC coding process reviewed in the above.
        ones to be specially handled, i.e., T1s53. The second set      FIG. 7 shows a set of states defined based on the trailing
        is a series of (run, level) pairs, where level means a one coding rule, which we examine first. The trailing ones are
        nonzero coefficient and run is the number of Zeros          a set of levels, but they are special at three points. First, they
        between the current level and the next level.               must be handled at the beginning of the coding process.
     2. Encoding CoeffToken ... TotalCoeffs and T1s are com (Coding is conducted in reverse order of the Zig-Zag
        bined into one parameter, i.e., CoeffToken, to be sequence.) Second, they are consecutive. Third, there is a
        encoded. There are 4 choices of look-up tables for restriction to consider at most 3 of them. To meet these three
        encoding CoeffToken. The selection depends on the requirements, we design three types of states, Tni, i=1,2,3. In
        numbers of non-Zero coefficients in upper and left-hand addition, CAVLC requires to know the number of trailing
        previously coded blocks, i.e., N, and N. A parameter 25 ones, i.e., T1S, both at the beginning of the coding process
        M=(N+N)/2 is used to select a table, as shown in the (T1s is transmitted.) and at the point that the level coding table
        following pseudocode:                                       is initialized. Eventually, 6 states are defined as shown in the
                                                                    left panel of FIG. 7. Accordingly, transitions are built up with
                     if 0<=M<2) use table Num-VO:                        30   two considerations, i.e.,
                     if(2<=M<4) use table Num-V1;                               1. T1 s is equal to i for a path starting with TniH:
                     if(4<=M<8) use table Num-V2 :                              2. T1 s is equal to 3, 2, or 1 for a path which containing
                     if(MD =8) 6-bit fixed length code:                            Tn1T, Tn.1TH, or Tn 1H, respectively; where the first one
                                                                                   defines T1S at the beginning of a path, and the second
     3. Encoding the sign of each trailing one. One bit is used to 35      one reveals T1S when it is needed to initialize the level
        signal the sign, i.e., 0 for + and 1 for -. Note that the          coding table.
        number of trailing ones has already been transmitted.            More states are defined based on features for coding levels
     4. Encoding levels. 7 VLC tables, named as Vlc(i) with in CAVLC, as shown in the right panel of FIG. 7. The two
        Osis6, are used to encode all levels one by one. The table important factors for coding levels are rate functions for cor
        Selection criteria are Summarized in the following 40 responding tables and table selection criteria. For the purpose
        pseudo codes.                                                 of rate evaluation, two tables are different only if they have
                                                                      different rate functions. The following equations Summarize
                                                                      the rate functions for Vlc(0)-Vlc(6),
           if Choose a table for the first level
           if TotalCoeffs>10 && T1s-3) i = 1 ; // use Vlc(1)             45
           else i = 0; if use Vlc(O)                                                                 2it - 1 0 < t < 8                       (24)
           // Update the table selection after coding each level                                      -2tt -8 < t < 0
           vlcI7]={0,3,6,12,2448,65536}                                             r(Vic(0), u) =
           if levelD-vlc inci) i++:                                                                       19   8s lus 15
           if levelD-3 && FirstLevel) i=2;                                                                28   o.w.
                                                                         50
     5. Encoding TotalZeros. One out of 15 tables is chosen                         r(Vic(i), u) =
                                                                                                     It2-1- 1 i+1 14-15.2-1.i = 1, ... , 6    25
                                                                                                                                             (25)
        based on TotalCoeffs to encode TotalZeros.                                                   28               O..
     6. Encoding runs. For each run, a parameter called Zeros
        Left is defined as the number of Zeros between the cur
        rent level and the scan end. It is then used to select one 55 Clearly, different states should be defined in the graph for
        table out of 7 to encode the current runs. E.g., ZerosLeft codes with different rate functions. Now consider table selec
          equals to TotalZeros for the first run.                     tion. It is based on a set of thresholds assigned to those codes,
       In Summary, CAVLC is designed to take advantage of some i.e.T., 3:2, i=1,..., 5. Note that the threshold for Vlc(0) is
   observations on quantized coefficients. First, they are com 0, meaning that it always switches to another table. There is
   monly sparse, i.e., containing mostly Zeros. Run-length cod 60 no threshold defined for Vlc(6). Once it is selected, it will be
   ing is used to represent consecutive Zeros efficiently. Second, used until the end of the current block. Other than these, the
   it is very likely that the trailing nonzero coefficients after the coding table will be switched from Vlc(i) to Vlc(i+1) when
   Zig-Zag scan take values of it 1. The trailing one rule is spe the current level is greater than Vlc(i) for i=1,..., 5. Vlc(O)
   cially developed to handle these levels. Third, the magnitude will switch to Vlc(2) when levelD3. Therefore, each coding
   of non-zero coefficients tends to be higher at the start of the 65 table except Vlc(6) needs to have two states in order to clearly
   Zig-Zag scan and lower towards the higher frequencies. The determine the next coding table according to the given level.
   level coding tables Vlc(0-6) are constructed according to this As shown in the right panel of FIG. 7, there are 13 states
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                                   21                                                                          22
   defined, named as either VsT, or VC-T. Then, two rules are while each group initially contains 19 states as shown in the
   formed to connect these states into a graph structure. First, the right panel of FIG. 8, only those states that receive connec
   state VsT, will go to both VsT, and V.C.T. Second, the state tions from HOS will remain valid. The graph ends at a dummy
   V>T, will go to both VisT, and VDT.                                  state EOS. There is also a connection from HOS directly to
      The above state definition also implies a restriction to the EOS, corresponding to a case where the whole sequence is
   state output. For example, the output for the state VCT, must quantized to 0.
   be greater than T. Consider the dynamic range of 1.255 for               To show that the rate distortion obtained by using the
   a level in H.264. The output range for VsT, is 1, T.I., while
   the output for VPT, will be any integer in IT-1,255). For V6,        proposed       graph structure to solve the SDQ (23) is optimal, it
   the output range will be the full range of 1.255.                 10 is sufficient to show that for a given a 4x4 residual block,
      Now we examine the runs coding process of CAVLC. A applying Viterbialgorithm for a search in the proposed graph
   runcoding table is selected based on ZerosLeft. Accordingly, gives the optimal Solution to the Soft decision quantization
   we define a state group for each different ZerosLeft. As shown problem of (24). This can be shown by examining a given
   in FIG. 8, a state group is a set of all states defined according
   to the level coding process and the trailing one rule. For 15 input  sequence
                                                                                 sequence c-(cis,..., co.) to determine that any possible
                                                                                        of quantization outputs accords to a path in the
   coefficient c(i), there are (i+1) groups, corresponding to
   ZerosLeft=0, 1, ... , i. It is then straightforward to establish proposed graph by introducing parallel transitions between
   connections among these groups, as shown in the left panel of two connected States in the graph. Then, we define a metric for
   FIG 8.                                                               each transition in the graph so that for any path the accumu
      Besides run coding table selection, the formation of state lated metric equals to the RD cost of (23). Consequently,
   groups according to ZerosLeft provides other two advan Viterbialgorithm can be used to search for a path in the graph
   tages. First, it naturally leads us to know TotalZeros for every to minimize the RD cost, and the obtained path gives the
   path in the graph. Second, it enables us to include the coding
   rate of CoeffToken in the optimization process by providing optimal quantization outputs for Solving (23).
   the value of TotalCoeffs. For example, TotalCoeffs is equal to 25 Parallel transitions between two connected states in the
   i+1-ZerosLeft for a path starting at c(i). In addition, TotalCo proposed graph can now be defined. As noted above, there are
   effs is also used to initialize the level coding table.              two types of states in the graph, states based on the trailing
      Based on the state definition for trailing ones and the state ones as shown in FIG. 7 and states for the level coding tables
   group formation, we are able to follow the level coding table as shown in FIG. 7. While a trailing one state will clearly
   initialization rule in the graph design. The rule is based on 30 output 1, the output of a state based on a level coding table will
   TotalCoeffs and T1s. As mentioned in the above, T1 s is
   known at the end of trailing ones coding, e.g., T1s=1 for a path be      any integer within a given range. Consider a connection
   containing Tn 1H. For a path starting at c(i) with ZerosLeft, from a states at c, to a states at C. Denote the output range
   we know that TotalCoffs=i--1-ZerosLeft. As a result, the             of S2 as usual. There will be (un-ul--1) parallel
   level coding table initialization rule is applied in the graph 35 transitions
                                                                        quantization
                                                                                         from S to S, with each according to a unique
                                                                                           output within the given range. Clearly, the only
   structure by forming four types of connections. The first is a
   connection from HOS. Accordingly we have T1s=0. Build difference between those transitions is the quantization out
   connections from HOS to Vos3 and V-3 in the ZerosLeft put. However, the output is well constrained within a range so
   group of c(i), when i+1-ZerosLefts 10: Build connections that the difference will not affect any other connections.
   from HOS to Vis3 and V>3 in the ZerosLeft group of c(i), 40 Therefore, they are named parallel transitions. As a result, by
   when i-1-ZerosLeft-10. The second is a connection from               restating the fact that for each coding table two complemen
   Tn1H. Accordingly we have T1s=1. Build connections from tary states are defined to cover the whole dynamic range of a
   Tn1H to Vos3 and Vo-3 in the ZerosLeft group of c(i), when level (or in case of Vlc(6) the state V6 covers the whole
   i+1-ZerosLeft 9: Build connections from Tn 1H to Vis3 and range), it is not hard to see that the proposed graph represents
   V>3 in the ZerosLeft group of c(i), when i+1-ZerosLeft->9. 45 the whole 16-dimensional vector space for the quantization
   The third is a connection from Tn1TH. Accordingly we have outputs. That is, there is a path according to any quantization
   T1s=2. Build connections from Tn1TH to Vos3 and Vod3 in output sequence.
   the ZerosLeft group of c(i), when i+1-ZerosLefts8; Build                 To assign a metric to each transition, three types of transi
   connections from Tn1TH to Vis3 and V>3 in the ZerosLeft
   group of c(i), when i+1-ZerosLeft->8. The fourth is a connec 50      tions    should be examined, a transition starting from HOS, a
   tion from Tn1T. Accordingly we have T1s=3. Build connec transition ending at EOS, and a transition from a states at c,
   tions from Tn1T to Vos3 and Vo-3 in the ZerosLeft group of to a states atc. Specifically, the RD cost for a transition from
   c(i). Eventually, the above connections, together with those HOS to a states at c, is
   connections illustrated in FIG. 7, define all possible connec
   tions among states in two groups.                                 55
      Finally, we can expand the main structure in the left panel                           5                                                       (26)
   of FIG. 8 into a full graph. Specifically, there are 16 columns,      ghead (ci, S1) = X c; +
   each of them corresponding to one coefficient. Each column
   contains several groups of states. There are (i+1) groups for
   the column of c(i). The graph structure starts from HOS, with 60                     r(ZerosLeft, T1S, Total Coeffs) + (c; - u; - bi) + rs (uy),
   connections going to TnlH in all groups, to Tn2H in groups
   with i--1-ZerosLeft->1, to Tn3H in groups with i--1-Zeros
   Left->2, to Vos3 and Vod3 in groups withi--1-ZerosLeft 10, where the first term is the distortion for quantizing coeffi
   and to Vis3 and VD-3 in groups with i--1-ZerosLeft->10. cients from cis to c1 to Zero as the encoding starts with c.
   Then, as discussed in the above, connections between state 65 the second term gives the rate cost for coding the three param
   groups are established according to the rules shown in FIG. 7 eters, the last two terms accord to the RD cost for quantizing
   and the level coding table initialization rule. Eventually, c, to u, and b, is the ith element of dup, 12"/64G)B.
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                                                         US 9,179,147 B2
                                 23                                                                 24
     For a normal transition from states at c, to states at c,         methods. In the bottom panels, the relative rate savings over
   (15aidja-0), the metric is defined as                               one common method, i.e., the method without RD optimiza
                                                                       tion, are presented for the three RD optimization methods.
                                                               (27)
                                                                       FIGS. 10a and 10b present similar information for coding
                                                                       video sequences of “Highway' and “Salesman', respectively.
                                                                       The video quality is measured by PSNR, which is defined as

   where the first term computes the distortion for quantizing 10                           2552
   coefficients in the between to zero, the second term is the rate           PSNR = 10logo MSE
   cost for coding the run with r (i-j-1) given by the run coding
   table at states, the last two terms are the RD cost for quan
   tizing c to u with r(u) determined by the level coding table 15 where MSE is the mean square error. The RD curve for the
                                                                   proposed method is obtained by varying the slope win (5),
   at State S.                                                         while RD curves for other methods results from varying the
     Finally, for a transition from a state at the column of c to      quantization step size. Specifically, the six points on the curve
   EOS, the RD cost is
                                                                       of the proposed methods accord to a 27.2, 34.3, 43.2, 54.4,
                                                                       68.5, 86.3}. In general, a larger indicates that more distor
                                                               (28)   tion should be traded off for a reduced coding rate. For a given
                                                                      W, all other parameters, including the quantization step size,
                                                                      are computed in the algorithm to achieve the optimal coding
                                                                      performance. It is shown in the figures that the proposed
   which accords to the distortion for quantizing the remaining 25 method achieves the best RD performance while maintaining
   coefficients from c, to co to Zero.                                complete compatibility with the baseline profile of H.264.
      By examining details of CAVLC, it is can be seen that the          It is interesting to see the dashed lines in the top panels of
   accumulated metric along any path leads to the same value as FIGS. 9a,9b,9c, 10a and 10b which give the RD performance
   evaluating the RD cost in (23) for the corresponding output 30 of the RD optimization method based on the main profile of
   sequence. Thus, the Viterbialgorithm is applicable to find the H.264. The proposed method for the baseline profile outper
   path with the minimal RD cost, and this path gives the quan forms the method for the main profile. The main difference
   tization output sequence to solve (23).                            between them is that the baseline profile uses CAVLC while
      The complexity of the proposed graph-based soft decision the main profile uses the advanced CABAC. Theoretically,
   quantization using Viterbialgorithm mainly depends on three 35 the advantage of CABAC over CAVLC comes from its adapt
   factors, the number of columns as 16, the number of states in      ability to the symbol statistics and its ability to use a nonin
   each column, and the number of parallel transitions. Expan teger code length. The fundamental 1 bit/symbol limit on the
   sion of FIG. 8 into a full graph reveals that the number of variable length code leads to a poor coding performance for
   states varies from 17 to 171. With states selectively con 40 CAVLC when the symbol probability is large, e.g., greater
   nected, the major computational cost is to handle the parallel than 0.5. However, it is shown that this fundamental deficit of
   transitions. In practice, however, the number of parallel tran CAVLC to CABAC has been well compensated when we tune
   sitions from a states to a states can be much less than the up the whole system with the joint optimization. Further
   (u-ul--1) as described in the above because the only more, the baseline CAVLC is much faster than CABAC.
   difference between them is the quantization output and the 45 Hence, compared to the method in 5 with the main profile
   distortion is a quadratic function of the quantization output. CABAC, the proposed method results in a codec that has
   Simulation results also show that it is sufficient to compute as slightly better coding performance but enjoys a much faster
   few as 4 parallel transitions. Thus the complexity is reduced decoding process.
   to a fairly low level.                                                The bottom panels of FIGS. 9a,9b,9c, 10a and 10b show
      The proposed joint optimization method is implemented 50 the relative rate savings of the three optimization methods
   based on the H.264 reference software Jim82. For each group over the H.264 codec without any RD optimization. Given
   of frames, only the first frame is intra coded (I-frame), while two methods A and B the rate saving of B relative to A is
   all the Subsequent frames use temporal prediction (P-frame). defined as,
   The group size is chosen as 21, i.e., one I frame followed by 55
   20 P-frames. The B-frame is not used since we target baseline
   decoder compatibility. The range for full-pixel motion com                 SpsNR-100.
                                                                                (    )=
                                                                                             RAN)         (No.O
                                                                                                  RA (PSNR)
   pensation is +32. The iteration is stopped when the RD cost
   decrease is less than 1%. Simulations have been conducted
                                                                   60 where R(PSNR) and R(PSNR) are the rate with given
   over a range of typical video sequences.
      FIGS. 9a,9b,9c, 10a and 10b show the RD performance of PSNR     R   (PSNR)
                                                                                for methods A and B, respectively. The rates of
                                                                                    and R(PSNR) are calculated by interpolations
   four methods for coding various video sequences. In FIGS. based on corresponding               RD curves. It is shown that with the
   9a,9b and 9c, the RD performance and relative rate savings same coding setting the proposed RD optimization method
   for coding the standard video sequences "Carphone”, “Fore 65 achieves 20-25% rate gain over the codec without RD opti
   man', and “Mother&Daughter are shown, respectively. The mization, while the baseline-based method in 5 has again of
   top panels in each case show the RD curves for four coding         10-15%.
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                                    25                                                                         26
                                TABLE 1.                                         significance of the rate and the quality. In general, a greater w
                                                                                 means that more distortion is allowed to achieve a less rate.
             Average relative bit-rate savings over various video                For applications such as video delivery, neither the absolute
                clips with the number of P-frames being 20.
                                                                                 amount of distortion nor the absolute amount of rate plays a
                                                       No RD optimization,   5   dominant role. It is convenient to watch out the relative cost of
                         main profile     baseline           baseline the rate and the distortion by monitoring the W.
   Proposed method,         59          12%            23%               In general, the SDQ-based joint optimization framework is
   baseline                                                           applicable to any coding method with a hybrid structure.
                                                                   10
                                                                      Although the above disclosure has been largely directed to
      Table 1 provides the average relative rate savings of the application to H.264, one skilled in the art will appreciate that
   proposed method over the other two RD methods and the these advances can be applied to other hybrid coding stan
   codec without RD optimization. The results are obtained by dards by developing algorithms, particularly the SDQ algo
   averaging over the whole test set of video sequences. The rithm, accordingly. The embodiment of SDQ proposed in this
   proposed method outperforms the baseline-based method by 15 paper is based on the baseline method CAVLC in H.264. To
   12% while they have the same decoding complexity. On the improve the coding performance of the main profile encoder
   other side, the relative gain over the main profile method is for H.264, soft decision quantization algorithm can be
   marginal, but the proposed method enjoys a faster decoding designed based on the CABAC method and be embedded into
   process as discussed in the above.                                 the joint optimization framework.
      Hybrid video compression generally implies high correla            One skilled in the art will appreciate that the methods
   tion among frames due to the application of inter-frame pre outlined above can be implemented on numerous platforms
   diction. Ideally, an optimization method for hybrid video including standard computing platforms, and dedicated hard
   compression should consider at least a group of frames if not ware platforms. The cross optimization of elements can be
   the whole video sequence. However, this is not practical implemented using the standard hardware designs known to
   because by far there is no effective way to characterize the 25 those skilled in the art, but making use of a control channel
   inter-frame correlation mathematically. The method pro between elements, or a logic processor in the quantizer and
   posed in this paper optimizes the coding performance for motion compensator to evaluate at the end of each iterative
   each individual frame. Specifically, the reference frames are cycle whether or not the reduction in the rate distortion has
   assumed to be fixed when we optimize the coding procedure been Sufficient. Such as system can be implemented using
   for a given frame. From the RD theoretical point of view, it is 30 standard hardware and Software combinations.
   unclear what the effect on the RD performance for coding the          In the above description, for purposes of explanation,
   whole sequence is. Clearly, the relative rate savings decreases numerous       details have been set forth in order to provide a
   as N increases due to the error accumulation, as indicated in      thorough   understanding  of the present invention. However, it
   the performance charts. However, in comparison to other
   methods, the present invention provides a constant gain indi 35 will be apparent to one skilled in the art that these specific
   cating a positive effect of the proposed optimization method details are not necessarily required in order to practice the
   on the RD performance for coding the whole sequence.               present invention. In other instances, well-known electrical
      FIG. 11 illustrates the error accumulation problem, by the structures and circuits are shown in block diagram form in
   relative rate savings averaged over various numbers of frames order not to obscure the present invention. For example, spe
   for coding the sequence of “Foreman'. N is the number of 40 cific details are not provided as to whether the embodiments
   frames. N=10 accords to an averaging result over 10 frames. of the invention described herein are implemented as a soft
   FIG. 12 illustrates the error accumulation problem, by the ware routine, hardware circuit, firmware, or a combination
   relative rate savings averaged over various numbers of frames thereof.
   for coding the sequence of 'Salesman'.                                Embodiments of the invention may be represented as a
      The proposed framework explored the best RD perfor 45 Software product stored on a machine-readable medium (also
   mance that a codec can achieve while preserving the compat referred to as a computer-readable medium, a processor-read
   ibility with the baseline profile of H.264, targeting applica able medium, or a computer usable medium having a com
   tions with off-line encoding. The disclosed method achieves puter readable program code embodied therein). the
   a significant compression gain, as up to 20-25% rate reduc machine-readable medium may be any type of magnetic,
   tion at the same PSNR when compared to the reference codec. 50 optical, or electrical storage medium including a diskette,
   Clearly, the coding gain is offset by increasing the encoding compact disk read only memory (CD-ROM), memory device
   complexity. However, for applications such as video delivery,      (volatile or non-volatile), or similar storage mechanism. The
   encoding is conducted off-line and normally only once.             machine-readable     medium may contain various sets of
      Rate distortion optimization and rate control are closely
   related to each other in real world applications of video com 55 instructions,    code sequences, configuration information, or
   pression. It is of some interest to compare the proposed other data. Those of ordinary skill in the art will appreciate
   method with generic rate control algorithms. Most rate con that other instructions and operations necessary to implement
   trol methods use the quantization step size as the control the described invention may also be stored on the machine
   parameter. In general, rate distortion optimization is consid readable medium. Software running from the machine read
   ered as complementary to rate control, i.e., rate distortion 60 able medium may interface with circuitry to perform the
   optimization is conducted based on a given quantization step described tasks.
   size determined by the rate control algorithm. The proposed           The above-described embodiments of the present inven
   method, however, considers quantization step sizes as an tion are intended to be examples only. Alterations, modifica
   optimization variable. Therefore, the proposed rate distortion tions and variations may be effected to the particular embodi
   method cannot be used together with a generic rate control 65 ments by those of skill in the art without departing from the
   method. However, there is a new control parameter, the W.          scope of the invention, which is defined solely by the claims
   From the codec control point of view, w defines the relative appended hereto.
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                                                         US 9,179,147 B2
                                     27                                                                 28
     What is claimed is:                                                        obtain a sequence of quantized coefficients for the block
     1. A method for obtaining an optimal sequence of quan                        of transform residuals;
   tized coefficients for a block of transform residuals from a                 calculate, for the obtained sequence, a rate-distortion
   video, for encoding the video in a video encoder, the method                   cost based on a distortion cost and on a rate cost based
   comprising:                                                                    on a context-adaptive entropy encoder, wherein the
     obtaining a sequence of quantized coefficients for the block                 context-adaptive entropy encoder encodes each quan
           of transform residuals;                                                tized coefficient by selecting at least one context from
     calculating for the obtained sequence a rate-distortion cost                 a plurality of contexts by determining an index for a
           based on a distortion cost and on a rate cost based on a
         context-adaptive entropy encoder, wherein the context 10                 set of contexts based, at least in part, on a previous
         adaptive entropy encoder encodes each quantized coef                     quantized coefficient in the sequence of quantized
         ficient by selecting at least one context from a plurality              coefficients; and
         of contexts by determining an index for a set of contexts             change  a value of one of said quantized coefficients of
         based, at least in part, on a previous quantized coefficient            the obtained  sequence to produce a new sequence of
         in the sequence of quantized coefficients; and               15         quantized coefficients, so that a resulting rate-distor
      changing a value of one of said quantized coefficients of the              tion cost for the new sequence of quantized coeffi
         obtained sequence to produce a new sequence of quan                     cients is Smaller than a rate-distortion cost for the
         tized coefficients, so that a resulting rate-distortion cost            obtained sequence.
         for the new sequence of quantized coefficients is Smaller          11. The video encoder of claim 10, wherein the processor is
         than a rate-distortion cost for the obtained sequence.          configured to change a value by evaluating a plurality of
      2. The method of claim 1, wherein changing a value com candidate levels for said one of said quantized coefficients by
   prises evaluating a plurality of candidate levels for said one of determining a new rate costanda new distortion cost resulting
   said quantized coefficients by determining a new rate cost and from each candidate level and selecting the candidate level
   a new distortion cost resulting from each candidate level and that results in the minimum rate-distortion cost for the new
   selecting the candidate level that results in the minimum 25 Sequence.
   rate-distortion cost for the new sequence.                               12. The video encoder of claim 11, wherein one of the
      3. The method of claim 2, wherein one of the candidate             candidate levels comprises the magnitude of said one of the
   levels comprises the magnitude of said one of the quantized quantized coefficients increased by 1 and another of the can
   coefficients increased by 1 and another of the candidate levels didate levels comprises the magnitude of said one of the
   comprises the magnitude of said one of the quantized coeffi 30 quantized coefficients decreased by 1.
   cients decreased by 1.                                                   13. The video encoder of claim 11, wherein said one the
      4. The method of claim 2, wherein said one the said quan said quantized coefficients equals Zero, and wherein one of
   tized coefficients equals Zero, and wherein one of the candi the candidate levels comprises a non-Zero value.
   date levels comprises a non-zero value.                                  14. The video encoder of claim 11, wherein the processor is
      5. The method of claim 2, wherein evaluating a plurality of 35 configured to evaluate a plurality of candidate levels for said
   candidate levels for said one of said quantized coefficients one of said quantized coefficients by identifying possible
   includes identifying possible candidate levels for said one of candidate levels for said one of said quantized coefficients
   said quantized coefficients and determining possible contexts and determining possible contexts associated with each pos
   associated with each possible candidate level.                        sible candidate level.
      6. The method of claim 5, wherein determining the new 40 15. The video encoder of claim 14, wherein the processor is
   rate cost comprises determining the new rate cost for each configured to determine the new rate cost by determining the
   combination of possible candidate level and possible contexts new rate cost for each combination of possible candidate level
   associated with that candidate level.                                 and possible context associated with that candidate level.
      7. The method of claim 6, wherein the context component               16. The video encoder of claim 15, wherein the context
   of one of the combinations comprises a coding table having a 45 component of one of the combinations comprises a coding
   rate function, and wherein determining the new rate cost for table having a rate function, and wherein the processor is
   said one of the combinations includes applying the rate func configured to determine the new rate cost for said one of the
   tion.                                                                 combinations by applying the rate function.
      8. The method of claim 5, wherein determining the new                 17. The video encoder of claim 14, wherein the processor is
   rate cost for each combination of possible candidate level and 50 configured to determine the new rate cost for each combina
   possible context associated with that candidate level com tion of possible candidate level and possible context associ
   prises adaptively selecting a coding table for each combina ated with that candidate level by adaptively selecting a coding
   tion.                                                                   table for each combination.
      9. The method of claim 2, wherein determining the new             18. The video encoder of claim 11, wherein the processor is
   rate cost resulting from each candidate level comprises:        55 configured to determine the new rate cost resulting from each
      determining possible contexts associated with that candi candidate level by:
         date level; and                                                determining possible contexts associated with that candi
      calculating a rate cost associated with that candidate level         date level; and
         for each of the possible contexts.                             calculating a rate cost associated with that candidate level
      10. A video encoder for encoding a video by obtaining an 60          for each of the possible contexts.
   optimal sequence of quantized coefficients for a block of            19. A non-transitory computer-readable medium storing
   transform residuals from the video, the video encoder com          processor-executable instructions, for obtaining an optimal
   prising:                                                           sequence of quantized coefficients for a block of transform
     a processor;                                                          residuals from a video, wherein the instructions, when
     memory;                                                          65   executed, configure one or more processors to:
     a video encoding application executable by the processor                obtain a sequence of quantized coefficients for the block of
        and which, when executed, configures the processor to:                  transform residuals;
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                              29                                       30
    calculate for the obtained sequence a rate-distortion cost
      based on a distortion cost and on a rate cost based on a
      context-adaptive entropy encoder, wherein the context
      adaptive entropy encoder encodes each quantized coef
      ficient by selecting at least one context from a plurality 5
      of contexts by determining an index for a set of contexts
      based, at least in part, on a previous quantized coefficient
      in the sequence of quantized coefficients; and
    change a value of one of said quantized coefficients of the
      obtained sequence to produce a new sequence of quan- 10
      tized coefficients, so that a resulting rate-distortion cost
      for the new sequence of quantized coefficients is Smaller
      than a rate-distortion cost for the obtained sequence.
                        k   k   k   k   k
